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 1   GREENBERG TRAURIG, LLP
     NINA D. BOYAJIAN (SBN 246415)
 2
     BoyajianN@gtlaw.com
 3   REBEKAH S. GUYON (SBN 291037)
 4
     GuyonR@gtlaw.com
     1840 Century Park East, Suite 1900
 5   Los Angeles, CA 90067-2121
 6
     Telephone: 310-586-7700
     Facsimile: 310-586-7800
 7
 8   Attorneys for Defendant Retreaver, Inc.

 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11                                      WESTERN DIVISION
12
13     ACQUISITION MANAGEMENT, INC.,             CASE NO.: 2:19-cv-06814-DSF-KS
14                        Plaintiffs,
15     vs.                                       DEFENDANT RETREAVER, INC.’S
                                                 EVIDENTIARY OBJECTIONS TO
16     RETREAVER, INC., and DOES 1-5,            PLAINTIFF ACQUISITION
       inclusive,                                MANAGEMENT, INC.’S EXTRINSIC
17
                          Defendants.            EVIDENCE SUBMITTED IN
18                                               SUPPORT OF OPPOSITION TO
                                                 DEFENDANT RETREAVER, INC.’S
19                                               MOTION TO DISMISS AND MOTION
20                                               TO STRIKE

21                                               [Reply Memorandum of Points and
                                                 Authorities; Declaration of Jason
22                                               Kolesnikowicz; Supplemental Declaration
23                                               of Stan Pavlovsky Filed Concurrently]

24                                               Hearing Date:     December 30, 2019
25                                               Time:             1:30 p.m.
                                                 Room:             Courtroom 7D
26
                                                 Hon. Dale S. Fischer
27
28                                               Action Filed: August 6, 2019
                                                 FAC Filed: November 11, 2019
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 1         Defendant Retreaver, Inc. (“Retreaver”) hereby submits these Evidentiary
 2   Objections to Plaintiff Acquisition Management, Inc.’s (“Acquisition”) Declaration of
 3   Adam Young in Support of Opposition to Defendant Retreaver, Inc.’s Motion to Dismiss
 4   and Motion to Strike, ECF No. 29-1 (“Young Decl.”) and Declaration of Marc E. Hankin
 5   in Support of Opposition to Defendant Retreaver, Inc.’s Motion to Dismiss and Motion to
 6   Strike ECF No. 29-2 (“Hankin Decl.”).
 7   A.    General Objection
 8         Retreaver objects to the Young and Hankin Declarations filed in connection with
 9   Acquisition’s opposition to Retreaver’s motion pursuant to Rule 12(b)(6) and motion to
10   strike (“Opposition”) because non-judicially noticeable extrinsic evidence is not
11   admissible for determining either motion. The Court “may not consider any material
12   beyond the pleadings in ruling on a Rule 12(b)(6) motion.” Hal Roach Studios, Inc. v.
13   Richard Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1989); see Tellabs, Inc. v.
14   Makor Issues & Rights, Ltd., 551 U .S. 308, 322 (2007) (courts may consider “documents
15   incorporated into the complaint by reference, and matters of which a court may take
16   judicial notice” without converting a Rule 12(b)(6) motion into a Rule 56 motion); ASM
17   Am., Inc. v. Genus, Inc., No. 01-2190 EDL, 2002 WL 24444, at *4 (N.D. Cal. Jan. 9,
18   2002) (“On a motion to strike, the Court is limited to considering the material appearing
19   on the face of the pleadings. The Court cannot consider extrinsic evidence”).
20   Acquisition’s Declarations and exhibits beyond the pleadings are therefore irrelevant to
21   the Court’s ruling on this motion. Further, inclusion of this extrinsic evidence appears to
22   be an attempt by Acquisition to deprive Retreaver of its single opportunity to move for
23   summary judgment under the Court’s Standing Order. Order re Motions for Summary
24   Judgment at 2. The Court should disregard the Young and Hankin Declarations and
25   attached exhibits when ruling on Retreaver’s motion to dismiss pursuant to Rule 12(b)(6)
26   and motion to strike.
27   B.    Objections to Young Declaration
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 1         Paragraph 2: Objection to Paragraph 2, which relies on Exhibit A to the Young
 2   Declaration, alleged results from an undated search that Mr. Young allegedly performed
 3   on the Google search engine, because Exhibit A contains a partially redacted date and is
 4   therefore incomplete in violation of Fed. R. Evid. 106.
 5         Paragraph 4: Objection to the statement in Paragraph 4 that a recorded
 6   demonstration is “between Mr. Stan Pavlovsky of Retreaver and Mr. Oscar Maglio of HPJ
 7   Holdings” and the statement that the “recording was obtained by asking Mr. Maglio, who
 8   then sent the recording to Acquisition for use as Acquisition saw fit.” These statements are
 9   (1) inadmissible hearsay in violation of Fed. R. Evid. 801 and 802; (2) not based on Mr.
10   Young’s personal knowledge in violation of Fed. R. Evid. 602; and (3) an attempt to
11   testify on the transmission of the recording instead of producing the original record of
12   transmission, in violation of Fed. R. Evid. 1002.
13         These statements are inadmissible hearsay in violation of Fed. R. Evid. 801 and 802
14   because: (1) Mr. Young was allegedly not present during either telephone conversation,
15   and, therefore, his statement regarding who was present during the demonstration is based
16   on out-of-court statements, ostensibly from Mr. Maglio describing the conversations; and
17   (2) Mr. Young’s statement that Mr. Maglio “sent the recording to Acquisition for use as
18   Acquisition saw fit” is an out-of-court statement by Mr. Maglio.
19         These statements are not based on Mr. Young’s personal knowledge in violation of
20   Fed. R. Evid. 602 because he allegedly was not present during the demonstrations. Young
21   Decl. ¶ 5.
22         To the extent Mr. Young claims that these statements are based on having listened
23   to the recordings allegedly transcribed as Exhibits G and H to the FAC, that is either false,
24   because the recordings do not identify Mr. Maglio’s last name, or violates Fed. R. Evid.
25   1002, because the recordings speak for themselves.1

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           Defined terms have the meaning provided in Retreaver’s Motion to Dismiss, ECF
28   No. 26, unless otherwise noted.
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 1         Paragraph 6: Objection to Paragraph 6 because it lacks foundation. Mr. Young
 2   asserts that internet search results for “ringba,” attached as Exhibit C, show “a link to
 3   Retreaver’s website was the first result.” Exhibit C clearly shows that the link to
 4   Retreaver’s website is an ad, not a search result. Rather, Acquisition’s own website is the
 5   first result on the first page of Exhibit C.
 6         Paragraph 8: Objection to the statement in Paragraph 8 that Retreaver conducted
 7   “two demonstrations with a person physically located in California” because Mr. Young
 8   (1) lacks personal knowledge regarding the physical location of any participants in the two
 9   demonstrations (because he allegedly was not a participant), in violation of Fed. R. Evid.
10   602; and (2) the statement is inadmissible hearsay because, to the extent that Mr. Young
11   claims to have personal knowledge of the physical location of the individuals, he could
12   only have gained such knowledge from reliance on hearsay statements by either Mr.
13   Maglio, Mr. Pavlovsky, or “Brock,” in violation of Fed. R. Evid. 801 and 802.
14         Paragraph 10: Objection to Paragraph 10 because (1) it is inadmissible expert
15   testimony by a lay witness in violation of Fed. R. Evid. 701; and (2) its probative value is
16   outweighed by its prejudicial effect under Fed. R. Evid. 403.
17         Specifically, Mr. Young’s statement that the website CallAnalyticsSoftware.com
18   “truthfully describes the features of the competitors” and “does not provide reviews” is his
19   opinion, and a legal conclusion, which violates Fed. R. Evid. 701.
20         Further, even if Mr. Young’s opinion were admissible, it should be excluded
21   because its probative value is substantially outweighed by unfair prejudice under Fed. R.
22   Evid. 403. Mr. Young is an owner of Acquisition and CallAnalyticsSoftware.com, and,
23   therefore cannot objectively describe the information on CallAnalyticsSoftware.com as it
24   relates to Acquisition’s defamation claim against Retreaver. See FAC ¶ 76.
25         Paragraph 11: Objection to Paragraph 11 because it (1) is irrelevant under Fed. R.

26   Evid. 401; (2) lacks authentication or identifying evidence for the alleged “collected data,”

27   in violation of Fed. R. Evid. 901; (3) is inadmissible hearsay in violation of Fed. R. Evid.

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 1   801 and 802; and (4) is an attempt to testify to the findings of the data rather than
 2   producing the original collected data, in violation of Fed. R. Evid. 1002.
 3         First, whether users of CallAnalyticsSoftware.com visit Retreaver’s website is not
 4   relevant to whether (a) the Court has personal jurisdiction over Retreaver, a foreign
 5   defendant, (b) Acquisition has stated a plausible claim against Retreaver for trademark
 6   infringement or defamation, or (c) Exhibits G and H to the FAC should be stricken.
 7   Indeed, Acquisition alleges no relevance to this assertion in its Opposition.
 8         Second, the alleged “collected data” that Mr. Young references is not identified,
 9   authenticated, or attached, and does not, therefore, satisfy Fed. R. Evid. 901. Mr. Young
10   has failed to provide any information regarding the custodian, location, or history of the
11   “collected data,” in violation of Fed. R. Evid. 901; he does not even claim to be the
12   custodian of the unidentified data that he references.
13         Third, Mr. Young’s statements regarding the meaning of the undefined “collected
14   data” are inadmissible hearsay, because Mr. Young references out-of-court documents
15   offered for the truth of the matter asserted, in violation of Fed. R. Evid. 801 and 802.
16         Lastly, Mr. Young’s statements attempt to testify on the contents of the “collected
17   data” instead of producing the original data itself, in violation of Fed. R. Evid. 1002.
18         Paragraph 12: Objection to Paragraph 12 because it is inadmissible expert
19   testimony by a lay witness in violation of Fed. R. Evid. 701. Whether Acquisition has ever
20   “run any sort of ‘racketeering scheme’” is Mr. Young’s impermissible lay opinion on the
21   meaning and application of the law.
22         Paragraph 13: Objection to Paragraph 13 because it is inadmissible expert
23   testimony by a lay witness in violation of Fed. R. Evid. 701. Whether it is substantially
24   true that “Retreaver banned Acquisition” is Mr. Young’s impermissible lay opinion on the
25   meaning and application of the law.

26         Paragraph 15: Objection to the statement in Paragraph 15 that “Acquisition

27   obtained the recordings by simply asking Mr. Maglio” because this statement (1) is

28   inadmissible hearsay in violation of Fed. R. Evid. 801 and 802; (2) is not based on

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 1   personal knowledge of the witness in violation of Fed. R. Evid. 602; and (3) is an attempt
 2   to testify to the transmission of the recordings instead of producing the original record of
 3   transmission, in violation of Fed. R. Evid. 1002.
 4         Mr. Young’s statement that he “obtained the recordings by simply asking Mr.
 5   Maglio” is an out-of-court statement submitted for the truth of the matter asserted in
 6   violation of Fed. R. Evid. 801 and 802.
 7         Mr. Young does not claim to have personally spoken with Mr. Maglio to allegedly
 8   obtain the recordings; he states that “Acquisition” did. Mr. Young, therefore, lacks the
 9   personal knowledge required to describe the conversation and the transaction, in violation
10   of Fed. R. Evid. 602.
11         Mr. Young’s alleged characterization of written correspondence between
12   “Acquisition” and “Mr. Maglio,” in which Mr. Maglio allegedly provides the recording to
13   Acquisition, instead of attaching and authenticating the correspondence, violates Fed. R.
14   Evid. 1002.
15         Paragraph 16: Objection to the statement in Paragraph 16 that “Mr. Maglio
16   consented to its disclosure” because this is inadmissible hearsay in violation of Fed. R.
17   Evid. 801 and 802.
18         Objection to the statement in Paragraph 16 that “Mr. Maglio was the person to
19   whom the telephonic communication was directed” because this statement is not based on
20   Mr. Young’s personal knowledge (since he was allegedly not present during the
21   conversations), in violation of Fed. R. Evid. 602.
22   C.    Objection to Hankin Declaration
23         Objection to the Hankin Declaration and Exhibit D because they are irrelevant
24   under Fed. R. Evid. 401. Whether the parties dispute the true identity of the alleged third-
25   party participating in the conversations transcribed as Exhibits G and H to the FAC is not
26   relevant to whether (a) the Court has jurisdiction over Retreaver, a foreign defendant, (b)
27   Acquisition has stated a plausible claim against Retreaver, or (c) Exhibits G and H should
28   be stricken.

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 2   Dated: December 16, 2019          Respectfully submitted,
 3                                     GREENBERG TRAURIG, LLP
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 5
                                      By: /s/ Nina D. Boyajian
                                             Nina D. Boyajian
 6                                     Attorneys for Defendant Retreaver, Inc.
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